          Case 1:21-cr-00188-RDM Document 46 Filed 09/03/21 Page 1 of 5




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,


         v.
                                                              Criminal Action No. 21-188 (RDM)

 PAUL ALLARD HODGKINS,

                 Defendant.


                                              ORDER

       Now before the Court is Defendant Paul Allard Hodgkins’s motion for extension of time

to file a notice of appeal, Dkt. 40, which the government opposes, Dkt. 44. For the reasons that

follow, the Court will GRANT the motion.

       The Federal Rules of Appellate Procedure provide that, “[i]n a criminal case, a

defendant’s notice of appeal must be filed in the district court within 14 days after . . . the entry

of either the judgment or the order being appealed.” Fed. R. App. P. 4(b)(1)(A)(i). Here, the

“judgment” Hodgkins seeks to appeal was entered on July 23, 2021, Dkt. 37, and thus Hodgkins

had until August 6, 2021 to notice an appeal, see Fed. R. App. P. 4(b)(6) (“A judgment or order

is entered for purposes of [] Rule 4(b) when it is entered on the criminal docket.”). All agree that

Hodgkins failed to comply with this requirement. Rule 4, however, permits the Court to “extend

the time to file a notice of appeal for a period not to exceed 30 days from the expiration of the

time otherwise prescribed by this Rule 4(b)” “[u]pon a finding of good cause or excusable

neglect.” Fed. R. App. P. 4(b)(4). Hodgkins argues that, under this standard, the Court should

extend his time to file a notice of appeal by 30 days. See Dkt. 40.
         Case 1:21-cr-00188-RDM Document 46 Filed 09/03/21 Page 2 of 5




       The Court agrees that Hodgkins’s failure to timely file his notice of appeal constitutes

“excusable neglect.” Fed. R. App. P. 4(b)(4). “[T]he determination of excusable neglect is an

equitable matter,” which turns on “several factors,” including “[1] the risk of prejudice to the

non-movant, [2] the length of delay, [3] the reason for the delay, including whether it was in

control of the movant, and [4] whether the movant acted in good faith.” FG Hemisphere Assocs.,

LLC v. Democratic Republic of Congo, 447 F.3d 835, 838 (D.C. Cir. 2006). Although this

understanding of “excusable neglect” was first espoused in a case interpreting a provision of the

Bankruptcy Code, see Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380,

395 (1993), courts regularly apply it in criminal cases, see Stutson v. United States, 516 U.S.

193, 195 (1996) (discussing “the applicability of Pioneer’s liberal understanding of ‘excusable

neglect’ to the Rule 4(b) criminal appeal context,” and noting the consensus among the courts of

appeals that “the Pioneer standard applies in Rule 4 cases”).

       “[A]ccount[ing] [for] all relevant circumstances surrounding” Hodgkins’s failure to

timely notice an appeal, the Court concludes that his “neglect of [the] deadline is excusable,”

Pioneer, 507 U.S. at 395. Applying the first two factors, the Court concludes that the

government will suffer no cognizable prejudice from the delay and that the length of the delay is

minimal. It is unlikely that the additional 30 days that Hodgkins seeks will have a material effect

on any appellate review of his conviction or sentence. The government argues that Hodgkins

could just as easily, and perhaps more efficiently, raise any claim of ineffective assistance of

counsel by filing a motion with this Court under 28 U.S.C. § 2255, rather than raising such a

claim on direct appeal. Dkt. 44 at 2. And, the government is correct that the D.C. Circuit

typically remands claims of ineffective assistance of counsel raised on direct appeal for an

evidentiary hearing, “unless the ‘record alone conclusively shows that the defendant either is or



                                                 2
          Case 1:21-cr-00188-RDM Document 46 Filed 09/03/21 Page 3 of 5




is not entitled to relief.’” United States v. Mohammed, 693 F.3d 192, 202 (D.C. Cir. 2012)

(citation omitted). But that practice is not universal, see, e.g., United States v. Marshall, 946

F.3d 591, 596-97 (D.C. Cir. 2020), and, more importantly, the decision whether to raise a

challenge on direct appeal or on collateral review is properly left to the defendant in the first

instance. That decision poses possible risks, but it is a decision for the defense to make, and

neither the government nor the Court can—or should—step into the shoes of defense counsel.

       The third factor—the reason for the delay, including whether it was in control of the

movant—poses a more difficult question. Hodgkins represents that his former lawyer repeatedly

told him that he “could appeal nothing” and that, even “[a]fter the sentencing hearing and

judgment on July 19, 2021,” his prior lawyer reaffirmed that “he could appeal nothing[] and

[that] the matter was over.” Dkt. 40 at 2–3. Hodgkins further represents, moreover, that despite

his inquiries following the Court’s imposition of sentence, his prior counsel never offered to file

even a protective notice of appeal. Dkt. 45 at 4. In the ordinary course, a mistake or neglect by

counsel, standing alone, might not suffice to establish “excusable neglect.” Pioneer Inv. Servs.

Co., 507 U.S. at 396–97 (emphasis added). But, here, Hodgkins’s former lawyer, who serves in

the Army reserves, deployed overseas almost immediately after the sentencing hearing. Dkt. 40

at 6; Dkt. 45 at 8–10. Hodgkins represents that, although he diligently sought out new counsel,

he was unable to retain a new attorney until after August 6, 2021, meaning he was “[w]ithout

legal counsel until after the deadline” to notice an appeal. Dkt. 40 at 7. As a result, Hodgkins

lacked meaningful representation during the critical 14-day period that he had to notice an

appeal. Under these unique circumstances, the Court concludes that Hodgkins’s neglect was

excusable.




                                                  3
          Case 1:21-cr-00188-RDM Document 46 Filed 09/03/21 Page 4 of 5




       Finally, applying the fourth factor, the Court finds that Hodgkins has acted in good faith.

For the reasons explained above, the Court has no reason to believe that Hodgkins has engaged

in any intentional, dilatory tactics or that his failure to notice his appeal within 14 days was for

any strategic or improper purpose. Rather, he was informed by his former counsel that he “could

appeal nothing;” his former counsel then deployed overseas; he diligently sought out new

counsel; and it was not until he retained new counsel (after the 14-day deadline) that he learned

that he might have a basis to appeal—presumably on grounds of ineffective assistance of

counsel. As far as the Court can discern, Hodgkins has acted in good faith.

       The government opposes Hodgkins’s motion on two grounds: (1) that “there is no viable

basis to file an appeal,” Dkt. 40 at 2, and (2) that Hodgkins has failed to carry his evidentiary

burden of proving that his prior counsel provided him with incorrect advice regarding his right to

appeal, Dkt. 44 a 1. For present purposes, the Court is unpersuaded by either of the

government’s arguments. First, the merit (or lack of merit) of Hodgkins’s arguments on appeal

plays no role in the “excusable neglect” analysis under Rule 4(b). See Pioneer, 507 U.S. at 395.

Nor is the Court in a position to evaluate the merits of Hodgkins’s appellate arguments, which

are not presented in his moving papers and which his new lawyer, at best, merely hints at in

seeking an extension of time to notice an appeal. Second, the government cites no authority for

the proposition that Rule 4 requires “an evidentiary hearing at which defense counsel would

testify to identify all of the information counsel knew or should have known” or, even beyond

that, requires the defendant to “establish his attorney’s ineffective assistance” in advising him

regarding his appellate rights. Dkt. 44 at 1–2. Such a requirement would transform the Court’s

consideration of a routine motion for an extension of time into the equivalent of a full-blown

§ 2255 proceeding. Such a requirement is also incompatible with the short time that the Court



                                                  4
          Case 1:21-cr-00188-RDM Document 46 Filed 09/03/21 Page 5 of 5




and the parties have to act on a request of this type—even with the maximum extension

permitted under Rule 4, Hodgkins’s window to appeal is rapidly closing—and with the

deployment of Hodgkins’s former counsel overseas.

        For present purposes, the Court decides only that Hodgkins is entitled to an extension of

time under Rule 4, and will therefore grant Hodgkins’s motion to “extend the time to file a notice

of appeal for a period not to exceed 30 days from the expiration of the time otherwise prescribed

by this Rule 4(b).” Fed. R. App. P. 4(b)(4). The merits of that appeal are for a different time and

a different tribunal.

        Accordingly, the Court hereby GRANTS Hodgkins’s motion for extension of time to file

a notice of appeal.

        SO ORDERED.

                                                     /s/ Randolph D. Moss
                                                     RANDOLPH D. MOSS
                                                     United States District Judge


Date: September 3, 2021




                                                5
